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                       Exhibit 10
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   1                       UNITED STATES DISTRICT COURT

   2                      CENTRAL DISTRICT OF CALIFORNIA

   3

   4

   5   V.R., a minor, by and through                   ) Case No. :
       her guardian ad litem, Ariana                   ) 5:19-cv-01023-
   6   Toscano, individually and as                    ) JGB-SP
       successor in interest to Juan                   )
                                                       )----------,
   7

   8

   9
       Ramon Ramos, deceased; et al.,



       vs.
                              Plaintiffs,              ;1  ________
                                                            CERTIFIED COPY
                                                       ) ,.._

                                                       )
                                                                         _,,


                                                       )
  10   COUNTY OF SAN BERNARDINO;                       )
       et al.,                                         )
  11                                                   )
                               Defendants.             )
  12   ___________________                             )

  13

  14

  15

  16                     VIDEOCONFERENCE DEPOSITION OF

  17                                   JOSUE ZUNIGA

  18                                  APRIL 8,        2021

  19

  20

  21   ATKINSON-BAKER, A VERITEXT COMPANY
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  23
       REPORTED BY:        GRACE WARNER,          CSR NO.       9502
  24   FILE NO.:           AF023DD

  25


                                     Josue Zuniga
                                     April 08, 2021                            1
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   1   of the incident, July of 2018?
   2        A.     Yeah, I do.
   3        Q.     And what makes you think he was using drugs on
   4   that day?
   5        A.     He was scared .
   6        Q.     What made you think he was scared on the day of
   7   the incident?
   8        A.     I could see it.
   9        Q.     Okay.     What did you see?           Explain that to me .
  10        A.     He looked scared.
  11        Q.     What about him looked scared?                  Just try to
  12   explain what that means so I can understand.
  13        A.     Like his expression, his expression.
  14        Q.     And you think that was because of drug use?
  15        A.     Because they had a gun on him.
  16        Q.     Okay.     Had you ever seen that expression on him
  17   before?
  18        A.     Scared?
  19        Q.     Yes.
  20        A.     Like that?       No.
  21        Q.     When had you seen him look scared like that
  22   before?
  23        A.     When?     Random .
  24        Q.     Had you ever talked about drug use with your
  25   cousin Juan?


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   1    and your brother and your dad?
   2           A.       Yes.
   3               Q.   And what did you see when you went out there?
   4    You said that your cousin was in the car?
   5           A.       Yeah.    And the cops had the guns pointed at
   6    him.
   7               Q.   How many cops were there?
   8           A.       A couple.
   9               Q.   Were they -- they were in their car or out of
  10    their car?
  11           A.       They were out of the car pointing the guns at
  12    him.
  13               Q.   And where in relation to your cousin's car were
  14    the deputies?           What side of the car were they on?
  15           A.       On his side, the driver's side, in the back.
  16               Q.   Did you say anything to the deputies, or did
  17 ,- the deputies say anything to you at that point?
  18         A.   No. My brother came out and told them, "That's
  19    our cousin."
  20               Q.   Your brother told them that that was your
       ,_      .
  21    cousin?
  22           A.       Yeah.
  23               Q.   Did you hear the deputy say anything to your
  24    cousin when you were outside?
  25           A.       No.     They just --


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   1             Q.   Did you speak to him at any time when he was in
   2    his car there?
   3            A.    Yes.
   4             Q.   You did?       What did you say?
   5            A.    "Get out . "
   6             Q.   Did he respond to you?
   7            A.    He just looked at us.
   8             Q.   Did you hear him say anything or see him mouth
   9 ,~     Y   words to you?
  10            A.    "Water," wanted water.
  11             Q.   Okay.     Did you hear that, or saw him mouth the
       ,_
  12    word?
  13            A.    Yeah, I heard him.
  14             Q.   From him?
  15            A.    Yeah.
  16             Q.   Did you speak with him on his cell phone that
  17    day when he was in the car?
  18            A.    No.
  19             Q.   Do you know if your brother spoke with him on
  20    the fence when he was in the car?
  21            A.    Yeah, I think he did.
  22             Q.   How about your dad, did he speak with him on
  23    the phone?
  24            A.    I think so.
  25             Q.   And what was said, if you know, on the cell


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   1   phone to your brother or dad?
   2         A.     I wasn't paying attention to them.
   3         Q.     Did you ever ask him about it after the fact?
   4         A.     No.
   5         Q.     Okay.   Other than mouthing the word "water,"
   6   did you see him mouth any other words to you or your
   7   family?
   8         A.     He wanted to come with us.
   9         Q.     And how do you know that?
  10         A.     He said so.
  11         Q.     You heard him say it?
  12         A.     Yeah.
  13         Q.     Do you remember exactly what he said?
  14         A.     He was just asking for water and that he wanted
  15   to come with us.
  16         Q.     So what I'm trying to figure out is if you
  17   heard this -- when he was seated in the car and you were
  18   in the front yard, you heard him say, "I want to come
  19   with you"?
  20         A.     Yeah, we could hear him.           He was looking at
  21   us.   He was talking to us and telling us he wanted water
  22   and that he wants to come with us.
  23         Q.     Okay.   And those are the words that he used
  24   that you remember?
  25         A.     Probably not exact, but yeah, that's what he


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   1   was saying.
   2          Q.   Okay.   I'm just trying to figure out whether he
   3   was gesturing, whether he was, you know, making some sort
   4   of motion or whether you actually heard him say the
   5   words, you know, "I want to come with you" or something
   6   to that effect?
   7          A.   Yeah.
   8          Q.   You actually heard the words?
   9          A.   Yeah.   I know he wanted to come with us and he
  10   wanted water.
  11          Q.   Were there any sheriff's deputies that were
  12   between you and Juan as he sat in his car on 13th Street?
  13          A.   Yeah.   We couldn't -- we couldn't get out of
  14   the gate.
  15          Q.   Okay.   But if you were looking directly at your
  16   cousin in the car, there were no deputies between you and
  17   him?
  18          A.   Like in front of us?
  19          Q.   Yes.
  20          A.   I could see him right in front of us .
  21          Q.   You could see them?
  22          A.   Yeah, I could see my cousin .
  23          Q.   Okay.   But where were the deputies          --   that's
  24   what I'm asking -- in relation to you and your cousin, if
  25   there was a straight line between you and your cousin at


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   1           Q.   Okay.     So he drove from where he was parked on
   2   the street up onto the dirt alleyway?
   3           A.   Yeah.    He was right on top.
   4           Q.   Okay.    Did he move his car all the way up to
   5   the -- there's a wall -- right? -- on the far side of the
   6   alleyway?
   7           A.   Yeah.    He stopped like right in front of the
   8   wall.
   9           Q.   Okay.    Did you hear the deputy say anything to
  10   him at that time
  11           A.   No.
  12           Q.   -- when he moved the car?
  13           A.   No.
  14           Q.   So up until this time when he moved the car up
  15   towards the brick wall there, did you hear the deputy
  16   saying anything to your cousin?
  17           A.   When he moved the car?
  18           Q.   At any time up till that point.
  19           A.   No.
  20           Q.   No?     They weren't giving him any commands that
  21   you recall?
  22           A.   No.
  23           Q.   Okay.     So he drove the car up almost to the
  24 'b lock wall; is that right?
  25           A.   Yeah.    He was right in front of it.


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   1        Q.    Okay.    And then what happened?
   2        A.    He got out of the car.
   3        Q.    Okay.    He got out his driver's side door?
   4        A.    Yeah.    He got out like this.           And then --
   5        Q.    Okay.    Sorry.      You're indicating he put his
   6   hands up towards his shoulders?
   7        A.    Yeah, and --
   8        Q.     Palms -- sorry.        Palms forward?
   9        A.    Yeah.    And then
  10        Q.     I have to describe your motion for the record
  11   because we don't have video so she has to kind of explain
  12   it in the record.      Okay?
  13        A.    His hands were up.          And as soon as he got out,
  14   they shot him       they started shooting him.
  15        Q.    Okay.    When you say "they started shooting
  16   him," are you talking about -- what kind of weapon?
  17        A.    Bean bag.
  18        Q.    The bean bag gun?
  19        A.    Yeah.
  20        Q.    How many times do you believe they fired the
  21   bean bag gun?
  22        A.    Two or three.
  23        Q.    And did those two or three bean bag rounds
  24   strike your cousin?
  25        A.    Yes.


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    1          Q.     And how do you know that?
   2           A.     Because he reacted to it.
    3          Q.     Okay.   What did you see him do?
   4           A.     He kind of flinched, and then he went into the
    5   car.
    6          Q.     So at that point he went back into the car?
    7          A.     Yeah.
    8          Q.     Okay.   Was he facing forward, or was he facing
    9   the rear of the car when he went in the car again
  10           A.     He was facing --
  11           Q.        if you recall?
  12           A.        I think, the same way.            Because he got out
  13    like that .     I think he just went in.
  14           Q.     So when he got out, you indicated his hands
  15    were up, kind of above his shoulders --
  16           A.     Yes.
  17           Q.     -- he was facing which direction?
  18           A.     Towards the back of the car, I guess.            Kind of
  19    towards the back, I would say.
  20           Q.     Okay.   And then they fired two or three bean
  21    bag rounds?
  22           A.     I saw two or three hit him.
  23           Q.     Okay.   And then he went back into the car?
  24           A.     Yeah.
  25           Q.     How long was he standing out of the car the


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    1        Q.    Okay.   So when Juan goes up -- runs up the dirt
    2   alleyway, and then he climbs over the fence into your
    3   front yard; is that right?
    4        A.    Yeah.
    5        Q.    What did you see next?             What did he do?
    6        A.    When he went in the yard?
    7        Q.    Yeah.
    8        A.    He was going towards the door.
    9        Q.    Okay.   Did he say anything during the time he
  10    left his car the second time and ran and came over the
  11    fence in the front yard?
  12         A.    He was saying, "Help me" --
  13         Q.    Okay.   Where was he -- sorry.
  14         A.        in Spanish.
  15         Q.    In Spanish he said, "Help me"?
  16         A.    Yes.
  17         Q.    And where was he when you heard him say "Help
  18    me" in Spanish?
  19         A.    I think he was running in the alley.
  20         Q.    Okay.   You think he said it as he was on the
  21    dirt alleyway?
  22         A.    When he was up on the gate .
  23         Q.    When he was about to climb over the gate, the
  24    fence there?
  25         A.    The gate didn't open.


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